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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                       July 3, 2019

Via ECF
The Honorable Paul A. Crotty
United States District Judge
Southern District of New York
United State Courthouse
500 Pearl Street, Courtroom 14C
New York, New York 10007

       Re:     United States v. Joshua Adam Schulte, S2 17 Cr. 548 (PAC)

Dear Judge Crotty:

        We write on behalf of the Government to respectfully request that the Court enter the
proposed pretrial scheduling order attached as Exhibit A to this letter. The Government believes
that the proposed schedule accounts for all remaining pretrial deadlines in this case, including
filings and disclosures pursuant to the Classified Information Procedures Act. This schedule does
not impact any existing deadlines, including the deadlines by when the defense must file the
remainder of its pretrial motions (July 5, 2019) and the Government must respond to those motions
(August 2, 2019). The Government has conferred with defense counsel and understands that the
defense has no objection to the proposed schedule.

         The Government also understands that the defense has concerns regarding its access to
witnesses pursuant to the protective order addressing classified information, which the defense
believes may impact its trial preparation. The Court Information Security Officer is aware of those
issues and the defense may write separately to the Court to address those issues should the delay
persist.


                                                       Respectfully submitted,
                                                       GEOFFREY S. BERMAN
                                                       United States Attorney


                                                 By:                /s/
                                                       Sidhardha Kamaraju / Matthew Laroche
                                                       Assistant United States Attorneys
                                                       Tel.: 212-637-6523/2420


Cc: Defense Counsel (via ECF)
    Daniel Hartenstine, Court Information Security Officer
